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VANDERSLICE DECL.
   EXHIBIT A11
                                                                            Case 3:20-cv-08570-JD Document 711-20 Filed 11/21/23 Page 2 of 7


                                                                        1   AXINN, VELTROP & HARKRIDER LLP
                                                                            Jason T. Murata (Bar No. 319287)
                                                                        2   jmurata@axinn.com
                                                                            55 Second Street, 20th Floor
                                                                        3   San Francisco, CA 94105
                                                                            Tel: 415.490.1487
                                                                        4   Fax: 415.490.2001

                                                                        5   Tiffany Rider Rohrbaugh
                                                                            trider@axinn.com
                                                                        6
                                                                            1901 L Street NW
                                                                        7   Washington, DC
                                                                            Tel: 202.721.5402
                                                                        8   Fax: 202.912.4701
                                                                        9   Craig M. Reiser
                                                                            creiser@axinn.com
                                                                       10
                                                                            114 West 47th Street
                                                                       11   New York, NY 10036
AXINN, VELTROP & HARKRIDER LLP




                                                                            Tel: 212.728.2218
                                 TEL 415.490.2000 · FAX 415.490.2001




                                                                       12   Fax: 212.728.2201
                                      SAN FRANCISCO, CA 94105




                                                                       13   Counsel for Non-Party TikTok Inc.
                                         560 MISSION STREET




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                                                                       15                           UNITED STATES DISTRICT COURT
                                                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                                                            KLEIN, et al.                        Case No. 3:20-CV-08570-JD
                                                                       18
                                                                                   Plaintiff,                    DECLARATION OF WARREN SOLOW
                                                                       19
                                                                            v.
                                                                       20
                                                                            META PLATFORMS, INC., et al.
                                                                       21
                                                                                   Defendants.
                                                                       22

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                                                                             Case 3:20-cv-08570-JD Document 711-20 Filed 11/21/23 Page 3 of 7


                                                                        1           I, Warren Solow, declare:

                                                                        2           1.     I am the Information Governance and Ediscovery Lead at ByteDance Inc., an

                                                                        3   affiliate of non-party TikTok Inc. (“TikTok”).

                                                                        4           2.     Through the course of my employment, I have become familiar with TikTok’s

                                                                        5   treatment of confidential and proprietary business information. I make this declaration in support

                                                                        6   of the Consumer Plaintiffs’ omnibus motion to seal materials submitted in connection with the

                                                                        7   Class Certification and Daubert Briefing (“Omnibus Sealing Motion”) pursuant to Civil Local

                                                                        8   Rule 79-5(e). I know the facts stated herein based on my own personal knowledge and, if called

                                                                        9   as a witness, I could and would testify competently thereto.

                                                                       10           3.     I understand that the parties to the litigation have filed the Declaration of Dr.

                                                                       11   Nicholas Economides in Support of Consumer Plaintiffs’ Motion for Class Certification Errata,
AXINN, VELTROP & HARKRIDER LLP


                                 TEL 415.490.2000 · FAX 415.490.2001




                                                                       12   dated July 27, 2023, ECF No. 645-5 (the “Economides Declaration”). 1 The Economides
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                                                                       13   Declaration contains TikTok’s non-public and confidential information. As specified herein,
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                                                                       14   certain portions of the Economides Declaration should remain under seal.

                                                                       15
                                                                                                                Portion(s) to Maintain
                                                                       16       Document                                                        Basis for Sealing Request
                                                                                                                Under Seal
                                                                       17       Economides Declaration          Portion of Page 45, Par. 141    This text contains
                                                                                                                (quoted text in the last        confidential and non-public
                                                                       18                                       sentence)                       information from a TikTok
                                                                                                                                                research report analyzing user
                                                                       19                                                                       behavior. Legitimate privacy
                                                                                                                                                interests warrant the sealing
                                                                       20
                                                                                                                                                of this confidential
                                                                       21                                                                       information, the disclosure of
                                                                                                                                                which would cause injury to
                                                                       22                                                                       TikTok that could not be
                                                                                                                                                avoided through any less
                                                                       23                                                                       restrictive alternative to
                                                                                                                                                sealing.
                                                                       24
                                                                                Economides Declaration          Portion of Page 45, Footnote    This text contains
                                                                       25                                       156, descriptions for the       confidential and non-public
                                                                                                                following Bates stamps: TIK-    information relating to
                                                                       26                                       00000001–024; TIK-              government investigations
                                                                       27
                                                                            1
                                                                              I understand that Meta’s counsel has stated that the Economides Declaration was also attached
                                                                       28    as an exhibit under the following docket entries: ECF Nos. 651-4; 663-2; and 669-7.
                                                                                                                               2
                                                                            SOLOW DECL. ISO SEALING REQUEST                                       Case No. 3:20-CV-08570-JD
                                                                            UNDER THE OMNIBUS SEALING
                                                                            MOTION
                                                                             Case 3:20-cv-08570-JD Document 711-20 Filed 11/21/23 Page 4 of 7


                                                                        1                              00000103–142; TIK-             and potential business
                                                                                                       00000143–153; TIK-             strategies. Legitimate privacy
                                                                        2                              00000083–102; TIK-             interests warrant the sealing
                                                                        3                              00000401–455; TIK-             of this confidential
                                                                                                       00000025–055                   information, the disclosure of
                                                                        4                                                             which would cause injury to
                                                                                                                                      TikTok that could not be
                                                                        5                                                             avoided through any less
                                                                                                                                      restrictive alternative to
                                                                        6
                                                                                                                                      sealing.
                                                                        7     Economides Declaration   Portion of Page 45, Footnote   This text contains
                                                                                                       156; quoted text from TIK-     confidential and non-public
                                                                        8                              00000143–153 at 144            information relating to
                                                                                                                                      potential business strategies.
                                                                        9                                                             Legitimate privacy interests
                                                                                                                                      warrant the sealing of this
                                                                       10
                                                                                                                                      confidential information, the
                                                                       11                                                             disclosure of which would
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                                                                                                                                      cause injury to TikTok that
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                                                                       12                                                             could not be avoided through
                                                                                                                                      any less restrictive alternative
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                                                                       13                                                             to sealing.
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                                                                       14     Economides Declaration   Portion of Page 45, Footnote   This text contains
                                                                                                       156; quoted text from TIK-     confidential and non-public
                                                                       15                              00000083–102 at 092            information relating to
                                                                                                                                      potential business strategies.
                                                                       16                                                             Legitimate privacy interests
                                                                                                                                      warrant the sealing of this
                                                                       17                                                             confidential information, the
                                                                       18                                                             disclosure of which would
                                                                                                                                      cause injury to TikTok that
                                                                       19                                                             could not be avoided through
                                                                                                                                      any less restrictive alternative
                                                                       20                                                             to sealing.
                                                                              Economides Declaration   Portion of Page 45, Footnote   This text contains
                                                                       21
                                                                                                       156; quoted text from TIK-     confidential and non-public
                                                                       22                              00000001–024 at 009            information relating to
                                                                                                                                      potential business strategies.
                                                                       23                                                             Legitimate privacy interests
                                                                                                                                      warrant the sealing of this
                                                                       24                                                             confidential information, the
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                                                                                                                                      cause injury to TikTok that
                                                                       26                                                             could not be avoided through
                                                                                                                                      any less restrictive alternative
                                                                       27                                                             to sealing.

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                                                                            SOLOW DECL. ISO SEALING REQUEST                               Case No. 3:20-CV-08570-JD
                                                                            UNDER THE OMNIBUS SEALING
                                                                            MOTION
                                                                             Case 3:20-cv-08570-JD Document 711-20 Filed 11/21/23 Page 5 of 7


                                                                        1     Economides Declaration   Portion of Page 46, Footnote   This text contains
                                                                                                       158 (last sentence in the      confidential and non-public
                                                                        2                              quoted parenthetical)          information relating to
                                                                        3                                                             TikTok’s potential business
                                                                                                                                      strategies. Legitimate privacy
                                                                        4                                                             interests warrant the sealing
                                                                                                                                      of this confidential
                                                                        5                                                             information, the disclosure of
                                                                                                                                      which would cause injury to
                                                                        6
                                                                                                                                      TikTok that could not be
                                                                        7                                                             avoided through any less
                                                                                                                                      restrictive alternative to
                                                                        8                                                             sealing.
                                                                              Economides Declaration   Portion of Page 46, Par. 144   This text contains
                                                                        9                              (quoted text in the second     confidential and non-public
                                                                                                       sentence followed by           information about TikTok’s
                                                                       10
                                                                                                       “TikTok’s parent ByteDance     potential business strategies.
                                                                       11                              stated”)                       Legitimate privacy interests
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                                                                                                                                      warrant the sealing of this
                                 TEL 415.490.2000 · FAX 415.490.2001




                                                                       12                                                             confidential information, the
                                                                                                                                      disclosure of which would
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                                                                       13                                                             cause injury to TikTok that
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                                                                                                                                      could not be avoided through
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                                                                                                                                      any less restrictive alternative
                                                                       15                                                             to sealing.
                                                                              Economides Declaration   Portion of Page 46, Footnote   This text contains non-public
                                                                       16                              159, description for TIK-      information relating to
                                                                                                       00000001-24 at 8-10, 21        government investigations.
                                                                       17                                                             Legitimate privacy interests
                                                                       18                                                             warrant the sealing of this
                                                                                                                                      confidential information, the
                                                                       19                                                             disclosure of which would
                                                                                                                                      cause injury to TikTok that
                                                                       20                                                             could not be avoided through
                                                                                                                                      any less restrictive alternative
                                                                       21                                                             to sealing.
                                                                       22     Economides Declaration   Portion of Page 52, Footnote   This text contains non-public
                                                                                                       208, description for TIK-      information relating to
                                                                       23                              00000001 at TIK-00000011       government investigations.
                                                                                                                                      Legitimate privacy interests
                                                                       24                                                             warrant the sealing of this
                                                                                                                                      confidential information, the
                                                                       25
                                                                                                                                      disclosure of which would
                                                                       26                                                             cause injury to TikTok that
                                                                                                                                      could not be avoided through
                                                                       27                                                             any less restrictive alternative
                                                                                                                                      to sealing.
                                                                       28
                                                                                                                      4
                                                                            SOLOW DECL. ISO SEALING REQUEST                               Case No. 3:20-CV-08570-JD
                                                                            UNDER THE OMNIBUS SEALING
                                                                            MOTION
                                                                             Case 3:20-cv-08570-JD Document 711-20 Filed 11/21/23 Page 6 of 7


                                                                        1          5.      These proposed redactions are limited in scope; they do not reflect all information

                                                                        2   that TikTok provided in the above-referenced litigation that were provided pursuant to the

                                                                        3   Court’s Stipulated Protective Order, ECF No. 314, and that are included in the Economides

                                                                        4   Declaration.

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                                                                            SOLOW DECL. ISO SEALING REQUEST                                        Case No. 3:20-CV-08570-JD
                                                                            UNDER THE OMNIBUS SEALING
                                                                            MOTION
                                                                             Case 3:20-cv-08570-JD Document 711-20 Filed 11/21/23 Page 7 of 7


                                                                        1          I declare, under penalty of perjury, that the foregoing is true and correct to the best of my

                                                                        2   knowledge, information, and belief.

                                                                        3

                                                                        4   Date: November 15, 2023

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                                                                        6                                                 Warren Solow
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                                 TEL 415.490.2000 · FAX 415.490.2001




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                                                                            SOLOW DECL. ISO SEALING REQUEST                                         Case No. 3:20-CV-08570-JD
                                                                            UNDER THE OMNIBUS SEALING
                                                                            MOTION
